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 Receiver for Roger S. Bliss, et al.


                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


 SECURITIES AND EXCHANGE                           SIXTH APPLICATION FOR INTERIM
 COMMISSION,                                       COMPENSATION OF RECEIVER AND
                                                           PROFESSIONALS
         Plaintiff,

 vs.                                                      Case No. 2:15-cv-00098-RJS
 ROGER S. BLISS, et al.,
                                                             Judge Robert J. Shelby
         Defendants.


         Tammy B. Georgelas, the Court-appointed receiver (the “Receiver”) for Roger S. Bliss

(“Mr. Bliss”), Roger Bliss and Associates Equities, LLC, Roger Bliss and Associates Club LLC,

and Bliss Club LLC, respectfully submits this Sixth Application for Interim Compensation of

Receiver and Professionals (the “Sixth Fee Application”), seeking an order by the Court

approving fees and expenses incurred by the Receiver and her attorneys, and approving fees and

expenses incurred by her accountant Lone Peak Valuation Group (“Lone Peak”), for the period

of October 1, 2018 through October 31, 2020 (the “Application Period”). Pursuant to the Billing

Instructions for Receivers in Civil Actions Commenced by the U.S. Securities and Exchange

Commission (the “SEC Billing Instructions”), the Receiver has already submitted this Fee

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Application to the Securities and Exchange Commission (the “SEC”), along with all supporting

invoices. The SEC reviewed the same, provided comments, and indicated it had no objection to

the Fee Application. In support of the Sixth Fee Application, the Receiver states as follows:

                                            INTRODUCTION

The Receiver and Her Attorneys

         1.          On June 10, 2015, the Court entered an order appointing Tammy B. Georgelas as

the Receiver for Roger S. Bliss, Roger Bliss and Associates Equities, LLC, Roger Bliss and

Associates Club LLC, and Bliss Club LLC (collectively, the “Receivership Defendants”). See

Order Appointing Receiver and Staying Litigation (the “Order Appointing Receiver”). [Dkt. No.

39].

         2.          The Court found that the appointment of a receiver was necessary and appropriate

in this action for the purposes of marshaling and preserving all assets of the Receivership

Defendants as well as the assets of any other entities or individuals that: (a) are attributable to

funds derived from investor or clients of the Defendants; (b) are held in constructive trust for the

Defendants; (c) were fraudulently transferred by the Defendants; and/or (d) may otherwise be

includable as assets of the estates of the Defendants (collectively, the “Recoverable Assets”). Id.

at 1.

         3.          On July 6, 2015 the Court entered an order approving of the employment of the

Receiver’s attorneys, which was effective as of the date of the Receiver’s appointment. See

Order Authorizing Engagement of Attorneys. [Dkt. No. 48.]

         4.          Prior to her appointment, the Receiver met with the SEC to discuss this matter

and the scope of work anticipated. Sensitive to the main purposes of a receivership, which are to


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wind down the estate and return the largest amount of funds to victims, the Receiver agreed to

perform work at a discounted rate up to a total expense of $250,000. Should she need to incur

additional fees thereafter, the Receiver agreed that such work would be performed at a reduced

rate of 50%, not to exceed an additional $125,000.             The Receiver agreed that any work

performed beyond the $375,000 would be at no cost to the estate. Thus, the cost to the estate for

the Receiver and her counsel would be no more than $375,000.

         5.          To help meet this arrangement, the Receiver agreed to reduce her rate to

$270/hour and Parsons Behle & Latimer agreed to discount its customary rates as follows: (a) a

blended rate for paralegals and associates of $210 per hour; and (b) hourly rates of between $240

and $380 for shareholders.

         6.          Below is a table providing the Fee Schedule of the Receiver’s professionals and

paraprofessionals who worked on this matter during the Application Period.

                       Timekeeper                             Rate
                       Tammy B. Georgelas                     $ 270.00
                       J. Thomas Beckett                      $ 380.00
                       Katherine Venti                        $ 380.00
                       John R. Lund                           $ 520.00
                       Jonathan R. Palmer                     $ 355.00
                       John L. Cooper                         $ 259.40
                       A. Bradley Randall                     $ 395.00
                       Alex N. Vandiver (clerk)               $ 205.00
                       Alex N. Vandiver (associate)           $ 250.00
                       Marguerite Chelsey                     $ 175.00
                       Louise Bowles                          $ 180.00
                       Kimberly J. Lyman                      $ 160.00

         7.          When the Receiver first met with the SEC, the information available at the time

indicated that the Receivership Defendants had losses of approximately $3,300,000, owed to

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about 40 investors, and that Mr. Bliss would cooperate in the administration of the Receivership

Estate.

          8.         Since the appointment of the Receiver, and after a thorough investigation by the

SEC and the Receivership Team, it is now known that losses exceed $21,000,000, affecting over

150 investors, and that Mr. Bliss was not cooperative in, and indeed actively thwarted, the

administration of the estate.1

          9.         Although the complexity and sheer size of this case changed dramatically since

she accepted her position, the Receiver and her team maintained their commitment to their

agreement with the SEC and the Court to cap their fees at $375,000. That cap was reached with

the Third Fee Application filed in February 2017.

          10.        The SEC discussed the fee agreement with the Receiver, indicating a willingness

to support a motion requesting authority from the Court to allow additional funds to pay the

Receivership Team for their continued and vital work on the Receivership.

          11.        The Receiver filed a Motion for Authority to Allow Additional Funds with the

Court on November 27, 2017. [Dkt. No. 194].

          12.        On December 20, 2017 the Court granted the motion, approving Receiver’s

request to set the rate for any future recovery at 75% for attorneys’ fees and 100% for costs, and

entered an Order Granting Motion for Authority to Allow Additional Funds and Receiver’s

Fourth Application for Interim Compensation of Receiver and Professionals. [Dkt No. 200].




 1
   As the Court is aware, Mr. Bliss was sentenced to a year in federal prison for perjury after lying to
 the Receiver and the Court about his assets.
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The Receiver’s Accountants

         13.         In accordance with the Order Appointing Receiver, the Receiver has engaged and

employed persons in her discretion to assist her in carrying out her duties and responsibilities,

including but not limited to attorneys, auctioneers, appraisers, real estate agents, construction

experts, and accountants (the “Receivership Team”).

         14.         On March 17, 2016 the Court entered an order approving of the employment of

the Receiver’s accountants. See Order Granting Motion to Employ Accountants. [Dkt. No.

122].

         15.         As set forth in the Receiver’s Motion to Employ Accountants, Lone Peak agreed

to perform work in this matter at a discounted rate of 17%. The fee schedule for Lone Peak’s

employees is set forth below.

                             Timekeeper                          Rate
                             Jeffrey Pickett                 $   220.00
                             Roger Smith                     $   220.00
                             Tia Donohoe                     $   120.00
                             Katy Bacca                      $   120.00
                             Shawn Yates                     $   120.00
                             Cristian Gomez                  $   120.00

         16.         The Receiver respectfully submits this Sixth Interim Application to approve the

Receivership Team’s fees and costs during the Applicable Period. She asks that she be allowed

to pay Lone Peak in full from the funds on hand in the Receivership Estate. She further requests

that she be allowed to pay herself and her attorneys, in accordance with the terms of the Order

Granting Motion for Authority to Allow Additional Funds, when and if the Receivership Estate

obtains sufficient funds as further described below.



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                                     PRIOR FEE APPLICATIONS

           1.        On May 5, 2016 the Receiver filed the First Application for Interim

 Compensation of Receiver and Professionals (the “First Fee Application”), requesting fees and

 costs for the Receivership Team in the amount of $275,679.81 for work performed from June

 1, 2015 to February 29, 2016. [Dkt. No. 142].

           2.        The First Fee Application did not include a request for reimbursement for Lone

 Peak because the SEC, not the estate, bore the cost of the first $80,000 worth of work

 performed by the accountant.

         3.          On May 9, 2016 the Court approved the requested fees and costs. See Order

Granting Receiver’s First Application for Interim Compensation of Receiver and Professionals.

[Dkt. No. 144].

         4.          The Receiver paid the approved fees and costs from the Receivership Estate’s

bank account on May 10, 2016.

         5.          Due to the sensitive nature of the work performed by the Receivership Team, the

Receiver requested permission from the Court to submit their detailed invoices in camera. The

Court granted her request, and entered the Order Granting Motion to File All Future Fee

Application Invoices in camera. [Dkt. No. 174.]

         6.          On October 27, 2016 the Receiver filed the Second Application for Interim

Compensation of Receiver and Professionals (the “Second Fee Application”), requesting fees

and costs for the Receiver’s Team in the amount of $94,854.22 for work performed from March

1, 2016 to September 30, 2016. [Dkt. No. 175].




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         7.          On October 31, 2016 the Court approved the requested fees and costs. [Dkt. No.

177].

         8.          The Receiver paid the approved fees and costs from the Receivership Estate’s

bank account on November 2, 2016.

         9.          On February 14, 2017 the Receiver filed the Third Application for Interim

Compensation of Receiver and Professionals (the “Third Fee Application”), requesting fees and

costs for the Receiver’s Team in the amount of $70,966.72 for work performed from October 1,

2016 to December 31, 2016. [Dkt. No. 189].

         10.         On February 28, 2017 the Court approved the requested fees and costs. [Dkt. No.

190].

         11.         Because of the cap from the Receiver’s fee agreement with the SEC, the Receiver

paid $16,064.52 of the $70,966.72 approved fees and costs from the Receivership Estate’s bank

account on March 17, 2017.

         12.         As such, $54,902.20 in approved fees went unpaid.

         13.         On November 27, 2017 the Receiver filed the Fourth Application for Interim

Compensation of Receiver and Professionals (the “Fourth Fee Application”), requesting fees and

costs for the Receiver and her attorneys in the amount of $141,734.13 for work performed from

January 1, 2017 to September 30, 2017, and fees and costs for her accountants in the amount of

$7,232 during the same time period. [Dkt. No. 195].2




 2
  The Receiver asked the Court to approve all fees and costs in the Fourth Fee Application, and allow her to pay
 Lone Peak upon entry of the order. She asked that she be allowed to pay herself and her attorneys if the Court
 granted her Motion for Authority to Allow Additional Funds.
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         14.         On December 15, 2017 the Court approved the requested fees and costs and

granted her Motion for Authority to Allow Additional Funds [Dkt. No. 200], which authorized:

         a)          Payment of 75% of the $54,902.20 in fees remaining from the Third Fee

                     Application, totaling $41,177.

         b)          Payment of 75% of the $139,761 in fees from the Fourth Fee Application, totaling

                     $104,820.75.

         c)          Payment of 100% of the costs from the Fourth Fee Application, totaling

                     $1,973.13.

         d)          Payment of 100% of Lone Peak’s fee and costs, totaling $7,232.00.

         15.         On December 10, 2018 the Receiver filed the Fifth Application for Interim

Compensation of Receiver and Professionals (the “Fifth Fee Application”), requesting approval

of fees and costs for the Receiver and her attorneys in the amount of $244,024.76 for work

performed from October 1, 2018 to September 30, 2018, and that she be allowed to pay herself

and her attorneys 75% of their fees and 100% of their costs, for a total of $184,283.64. [Dkt. No.

247].

         16.         The Receiver further requested approval of fees and costs for her accountants in

the amount of $2,842.00 during the same time period, and that she be allowed to pay this sum in

full. [Id.].

         17.         On December 12, 2018 the Court approved the requested fees and costs for the

Receiver, her attorneys, and her accountants, and authorized payment as follows:




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         a)          Payment of 75% of the $238,964.50 in fees from the Fifth Fee Application,

                     totaling $179,223.38.

         b)          Payment of 100% of the costs from the Fifth Fee Application, totaling $5,060.26.

         c)          Payment of 100% of Lone Peak’s fee and costs, totaling $2,842.00.

         18.         To date, the Receiver and her attorneys have been paid $700,221.13 in fees and

$18,631.94 in costs.

         19.         To date, the Receiver and her attorneys have incurred unpaid fees at the reduced

rates noted above totaling $108,406.93.

         20.         The detailed invoices comply with the requirements of the SEC Billing

Instructions, and as explained above the Receiver has already submitted them to the SEC, which

did not object to the time spent in this matter. Summaries of the services provided during the

Application Period are provided below.

                                             CASE STATUS

A.       Unencumbered Funds

         1.          The Estate currently holds liquid assets of $102,746.63 from which all general

operating and administrative expenses of the estate are paid (the “General Operating Account”).

Standardized Fund Accounting Reports for the Application Period are attached as Exhibit A.

         2.          The funds on deposit have been obtained through marshalling Defendants’ bank

accounts, selling personal and real property, and negotiating the return of funds from Net

Winners, including a settlement conference that took place in November 2020.




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         3.          Because the Receiver has sold substantially all of the real and personal property

of the Estate, administrative expenses such as utility bills and appraisal fees have been reduced

significantly.

         4.          On October 6, 2016, the Court approved the Plan for Claims Administration, Loss

Allocation, and Distribution (the “Plan”) and set the Claims Bar date for November 14, 2016.

[Dkt. No. 166.]

         5.          As discussed below, the Receiver has made her initial distribution from the

unencumbered funds to victims in accordance with the Plan.

B.       Case Administration

         1.          The Court is aware of the intricacies of this case via the Receiver’s status reports,

notices of failure to comply with court orders, and the Court’s own involvement in contempt

hearings. The Receiver’s reports and notices provide detailed information outlining steps she has

taken in administering the estate. In the interest of saving time and expense to the estate, the

Receiver refers back to those documents and provides below a summary of the work she has

performed as required by the SEC Billing Instructions. See Notice of Apparent Failure of Roger

S. Bliss to Comply With Court Order [Dkt. No. 57], Notice of Supplemental Notice of Apparent

Failure of Roger S. Bliss to Comply with Court Order [Dkt. No 82], Preliminary Liquidation

Plan and Status Report [Dkt. 90]; Quarterly Status Report [Dkt. 120], Third Quarterly Status

Report [Dkt. No. 147], Fourth Quarterly Status Report [Dkt. No. 172]; Fifth Quarterly Status

Report [Dkt. No. 186]; and Sixth Quarterly Status Report [Dkt. No. 191]; Seventh Quarterly

Status Report [Dkt. No. 193].




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C.       Assets and Disposition Thereof

         1.          Soon after her appointment, the Receiver seized approximately $795,000 from

Mr. Bliss’s personal bank account, which he had used to run his investment scheme. Those

funds were deposited into the General Operating Account.

         2.          The Receiver has now marshalled and sold all personal property that has been

acknowledged by the Receivership Defendants and related third parties.                Sale of personal

property has provided a net profit to the estate of approximately $475,000.

         3.          The Receiver has also marshalled and sold all real property of the estate. Sale of

real property has provided a net profit to the estate of $1,382,315.49.

D.       Liquidated and Unliquidated Claims

         1.          After carefully considering the costs and benefits of third-party actions, the

Receiver filed lawsuits against 43 Net Winners, including insiders, in June 2016 to return funds

that could total several million dollars to the Receivership Estate.

         2.          Litigation in the net winner lawsuits did not progress for several years due to an

extended stay to resolve the issue of standing in a separate but related lawsuit. Cases resumed

after the Court ruled that the Receiver had standing to sue the net winners under Utah’s Uniform

Voidable Transactions Act and/or the Uniform Fraudulent Transfer Act. [Dkt. No. 241.]

         3.          Since that time the Receiver has resolved 34 of the lawsuits, resulting in payments

to the Receivership Estate totaling $443,964.45.

         4.          The Receiver anticipates receiving an additional $250,000 to $600,000 by

December 28, 2020, based upon additional settlement agreements.




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          5.         If this happens, the Receiver will be able to make a second distribution to the

victims by the end of 2020, and is making preparations in anticipation of that occurrence.

          6.         On November 30, 2020, the Court granted the Receiver’s Motions for Summary

Judgment in two net winner lawsuits, finding that the Bliss Entities did in fact operate as a Ponzi

scheme and that the net winners are liable for the entirety of their net winnings, totaling over

$1,200,000.

          7.         The Receiver anticipates resolution of additional lawsuits based upon the Court’s

ruling.

          8.         The Receiver also negotiated an agreement with the Church of Jesus Christ of

Latter-Day Saints to disgorge donations made by Roger Bliss totaling approximately $178,000.

E.        Summary of Claims Proceedings

          1.         On October 11, 2016, the Court entered the Receiver’s Plan for Claims

Administration, Loss Allocation, and Distribution and Set the Claims Bar Date for November 14,

2016. [Dkt. No. 170].

          2.         The following week, in accordance with the Plan, the Receiver mailed official

Claim Forms to approximately 140 investors for whom she has valid postal addresses. These

forms contained the Receiver’s opinion about the Invested Amount and the Recovered Amount

for each Investor’s Claim.

          3.         The Receiver also provided notice to unknown claimants regarding the approval

of the Plan and the Claims Bar Date in Intermountain Commercial Record and Salt Lake Times,

a publication of general circulation in Salt Lake County, Utah; the Davis County Clipper, a




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publication of general circulation in Davis County, Utah; and The News-Examiner, a publication

of general circulation in Bear Lake County, Idaho.

         4.          Nearly all Claim Forms were timely returned by November 14, 2016.

         5.          The vast majority of the Claim Forms submitted agreed with the accounting

provided by the Receivership Team.

         6.          The Receiver and her team worked diligently with the investors to resolve

outstanding issues and obtain all necessary documentation.

         7.          This process resulted in the Receiver sending just two Claim Determination

Notices, informing the investor of a disputed claim in accordance with the Plan.

         8.          On February 9, 2017 the Court granted the Receiver’s Motion for Claim

Resolution, denying investor Jams Percy’s demand that she disgorge his $1,000,000 investment

made in February 2015. [Dkt. No. 187.] This ruling allowed the Receiver to include the

$1,000,000 at issue as part of the funds she distributed in her first interim distribution to

investors.

         9.          The Receiver mailed the First Distribution checks to investors totaling

$2,409,093.10 on February 15, 2017. This distribution returned funds to investors such that

every investor with an accepted claim received a return of at least 27.33% of his or her total

investment under a Rising Tide analysis.

         10.         On January 16, 2018 the Court granted the Receiver’s Motion for Claim

Resolution Regarding Investor Kevin Fortney, which resolved a dispute over the total amount of

his investment into the scheme. [Dkt. No. 205.] The Court determined that Mr. Fortney’s




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Invested Amount was $120,600, instead of “$400,000-$500,000.” This ruling will allow the

Receiver to pursue $545,900 against Mr. Fortney in a net winner lawsuit, instead of $166,500.

               REQUEST FOR COURT APPROVAL OF FEES AND EXPENSES

A.       The Receiver and Her Attorneys

         The Receiver represents that: (i) the fees and expenses included therein were incurred in

the best interests of the Receivership Estate; and, (ii) with the exception of the Billing

Instructions, the Receiver has not entered into any agreement, written or oral, express or implied,

with any person or entity concerning the amount of compensation paid or to be paid from the

Receivership Estate, or any sharing thereof.

         The Receiver respectfully requests that the Court enter an order approving the fees and

costs incurred by the Receiver and her attorneys on an interim basis. The fees incurred by the

Receiver and her attorneys, categorized by task, are as follows:

                                          Receiver       Parsons, Behle
                                                            & Latimer
        Task                                                                  Total Hours

        Asset Analysis and                        0                    0                 0
        Recovery
        Asset Disposition                          0                   0                 0
        Case Administration                     66.4                 4.3              70.7
        Claims Administration                      0                 5.0               5.0
        and Objections
        Ancillary Litigation                   456.4               470.6            927.50

        Total Hours                          522.8                479.9            1002.7
        Total Fees                     $141,156.00          $137,964.50       $279,120.50

         An itemization of the work performed by individual is set forth below. This breakdown

is supported by the detailed invoices already provided to the SEC and submitted directly to the

Court in camera as Exhibit B.
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      Timekeeper                              Hours           Rate                 Total
      Tammy B. Georgelas                       522.8      $   270.00        $ 141,156.00
      J. Thomas Beckett                         34.7      $   380.00         $ 13,186.00
      Katherine Venti                           87.7      $   380.00         $ 33,326.00
      John R. Lund                                .8      $   520.00            $ 416.00
      Jonathan R. Palmer                          .6      $   355.00            $ 213.00
      John L. Cooper                           327.9      $   259.40         $ 85,057.50
      A. Bradley Randall                         1.2      $   395.00            $ 474.00
      Alex N. Vandiver (clerk)                  17.6      $   205.00          $ 3,608.00
      Alex N. Vandiver (associate)               1.2      $   250.00            $ 300.00
      Marguerite Chelsey                         1.2      $   175.00            $ 210.00
      Louise Bowles                              2.7      $   180.00            $ 486.00
      Kimberly J. Lyman                          4.3      $   160.00            $ 688.00

      Total                                   1002.7                        $ 279,120.50

         In addition, costs in the amount of $3,492.02 have been incurred by the Receiver and her

attorneys for expenses such as filing fees, photocopies, and postage.

         The total amount of fees and costs incurred by the Receiver and her attorneys during this

Application Period is $282,612.52. The Receiver seeks approval of fees and costs in this

amount.

B.       The Receiver’s Accountant—Lone Peak Valuation Group

         The Receiver further respectfully requests that the Court enter an order approving the

fees and costs incurred by Lone Peak in the amount of $11,349.00 on an interim basis, and

authorizing payment from the Receivership Estate. An itemization of the work performed by

individual is set forth below. This breakdown is supported by the detailed invoices already

provided to the SEC and submitted directly to the Court in camera as Exhibit C.

      Timekeeper                              Hours                Rate             Total
       Jeffrey Pickett                         34.15           $ 220.00        $ 7,513.00
       Roger Smith                                 .5          $ 220.00          $ 110.00
       Tia Donohoe                             10.05           $ 120.00        $ 1,206.00
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        Katy Bacca                              18.75          $ 120.00          $ 2,250.00
        Shawn Yates                               .75          $ 120.00             $ 90.00
        Cristian Gomez                            1.5          $ 120.00            $ 180.00

      Total                                      65.7                          $ 11,349.00


                                         CONCLUSION

         The Receiver respectfully requests that the Court grant this Sixth Application for Interim

Compensation of Receiver and Professionals for Services Rendered from October 1, 2018

through October 31, 2020, and that the Court enter an Order approving all fees and costs herein

contained. The Receiver asks that she be allowed to pay Lone Peak the entire amount owed

($11,349.00) upon entry of the order.       In accordance with the Order Granting Motion for

Authority to Allow Additional Funds [Dkt No. 200], the Receiver further asks that she be

allowed to pay herself and her attorneys 75% of their $279,120.50 in fees (equal to $209,340.38)

and 100% of their costs ($3,492.02), for a total of $212,832.40, if and when sufficient funds

become available to make such payment. A certification in compliance with the SEC Billing

Instructions is attached as Exhibit D.

         RESPECTFULLY SUBMITTED this 4th day of December, 2020.



                                                   PARSONS BEHLE & LATIMER


                                                   /s/ Tammy B. Georgelas
                                                   Tammy B. Georgelas

                                                   Receiver for Roger S. Bliss, et al.




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                              CERTIFICATE OF SERVICE

        I hereby certify that on the 4th day of December, 2020, I caused the foregoing SIXTH
 APPLICATION FOR INTERIM COMPENSATION OF RECEIVER AND
 PROFESSIONALS to be electronically filed with the Clerk of Court using the CM/ECF
 system, which will send notification of such filing to all counsel of record.


                                                        /s/ Tammy B. Georgelas




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         Exhibit A—Standardized Fund Accounting Reports

         Exhibit B—Detailed Invoices for Parsons, Behle & Latimer (Submitted to the Court in
         camera)

         Exhibit C— Detailed Invoices for Lone Peak Valuation Group (Submitted to the Court
         in camera)

         Exhibit D—Certification




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                                   Exhibit A

                      Standardized Fund Accounting Reports




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ZIONS BANK RECEIVER ACCOUNTS FOR THE ESTATE OF ROGER S. BLISS
Cash Receipts and Disbursements
For the Period October 1, 2018 to December 31, 2018

                                                                                   October 1, 2018
                                                                                      through
                                                                                    December 31,       Receivership
                                                                                        2018           Cumulative
            Beginning Balance:                                                    $    222,738.27    $           ‐

            Cash Receipts
                Business Income                                                               ‐                 ‐
                Cash and Securities                                                           ‐          898,934.42
                Interest/Dividend Income                                                      ‐                 ‐
                Business Asset Liquidation                                                    ‐                 ‐
                Personal Asset Liquidation                                                             1,860,071.34
                Third‐Party Litigation Income                                                 ‐                 ‐
                Net Winner Settlements                                                        ‐          376,764.45
                Other Settlements                                                             ‐          177,900.00
                Miscellaneous ‐ Other                                                         ‐               77.08
            Total Cash Receipts                                                               ‐        3,313,747.29

            Cash Disbursements
                Disbursements to Investors                                                    ‐        2,403,626.50
                Disbursements for Receivership Operations
                Disbursements to Receiver or Other Professionals                       187,125.64        784,013.76
                Business Asset Expenses                                                                       37.55
                Personal Asset Expenses                                                     18.00         76,056.30
                Investment Expenses                                                                             ‐
                Third‐Party Litigation Expenses                                                                 ‐
                   1. Attorney Fees                                                                             ‐
                   2. Litigation Expenses                                                                 14,418.55
                Tax Administrator Fees and Bonds
                Federal and State Tax Payments
                Disbursements for Distribution Expenses Paid by the Fund:
                   Distribution Plan Development Expenses:
                   1. Fees:
                         Fund Administrator
                         Independent Distribution Consultant (IDC)
                         Distribution Agent
                         Consultants
                         Legal Advisors
                         Tax Advisors
                   2. Administration Expenses:
                   3. Miscellaneous
                   Distribution Plan Implementation Expenses:
                   1. Fees:
                         Fund Administrator
                         IDC
                         Distribution Agent
                         Consultants
                         Legal Advisors
                         Tax Advisors
                   2. Administration Expenses
                   3. Investor Identification:
                         Notice/Publishing Approved Plan
                         Claimant Identification
                         Claims Processing
                         Web Site Maintenance/Call Center
                   4. Fund Administrator Bond
                   5. Miscellaneous
                   6. Federal Account for Investor Restitution (FAIR) Reporting
                      Expenses
                Disbursements to Court/Other:
                   Investment Expenses/Court Registry Investment System
                (CRIS) fees
                   Federal Tax Payments
            Total Disbursements                                                        187,143.64      3,278,152.66
            Ending Cash Balance                                                         35,594.63         35,594.63

                 Ending Balance of Fund ‐ Net Assets:
                 Bank Statement Balance                                                                   35,594.63
                   Unposted Deposits                                                                            ‐
                   Uncleared Funds                                                                              ‐
                 Total Ending Balance of Fund ‐ Net Assets (Check register)                               35,594.63
      Case 2:15-cv-00098-RJS Document 265 Filed 12/04/20 PageID.4371 Page 21 of 31


ZIONS BANK RECEIVER ACCOUNTS FOR THE ESTATE OF ROGER S. BLISS
Cash Receipts and Disbursements
For the Period January 1, 2019 to March 31, 2019

                                                                                    January 1, 2019
                                                                                       through          Receivership
                                                                                    March 31, 2019      Cumulative
             Beginning Balance:                                                    $      35,594.63   $           -

             Cash Receipts
                 Business Income                                                               -                 -
                 Cash and Securities                                                           -          898,934.42
                 Interest/Dividend Income                                                      -                 -
                 Business Asset Liquidation                                                    -                 -
                 Personal Asset Liquidation                                                             1,860,071.34
                 Third-Party Litigation Income                                                 -                 -
                 Net Winner Settlements                                                        -          376,764.45
                 Other Settlements                                                             -          177,900.00
                 Miscellaneous - Other                                                         -               77.08
             Total Cash Receipts                                                               -        3,313,747.29

             Cash Disbursements
                 Disbursements to Investors                                                    -        2,403,626.50
                 Disbursements for Receivership Operations
                 Disbursements to Receiver or Other Professionals                              -          784,013.76
                 Business Asset Expenses                                                                       37.55
                 Personal Asset Expenses                                                     18.00         76,074.30
                 Investment Expenses                                                                             -
                 Third-Party Litigation Expenses                                                                 -
                    1. Attorney Fees                                                                             -
                    2. Litigation Expenses                                                                 14,418.55
                 Tax Administrator Fees and Bonds
                 Federal and State Tax Payments
                 Disbursements for Distribution Expenses Paid by the Fund:
                    Distribution Plan Development Expenses:
                    1. Fees:
                          Fund Administrator
                          Independent Distribution Consultant (IDC)
                          Distribution Agent
                          Consultants
                          Legal Advisors
                          Tax Advisors
                    2. Administration Expenses:
                    3. Miscellaneous
                    Distribution Plan Implementation Expenses:
                    1. Fees:
                          Fund Administrator
                          IDC
                          Distribution Agent
                          Consultants
                          Legal Advisors
                          Tax Advisors
                    2. Administration Expenses
                    3. Investor Identification:
                          Notice/Publishing Approved Plan
                          Claimant Identification
                          Claims Processing
                          Web Site Maintenance/Call Center
                    4. Fund Administrator Bond
                    5. Miscellaneous
                    6. Federal Account for Investor Restitution (FAIR) Reporting
                       Expenses
                 Disbursements to Court/Other:
                    Investment Expenses/Court Registry Investment System
                 (CRIS) fees
                    Federal Tax Payments
             Total Disbursements                                                             18.00      3,278,170.66
             Ending Cash Balance                                                         35,576.63         35,576.63

                 Ending Balance of Fund - Net Assets:
                 Bank Statement Balance                                                                    35,576.63
                   Unposted Deposits                                                                             -
                   Uncleared Funds                                                                               -
                 Total Ending Balance of Fund - Net Assets (Check register)                                35,576.63
      Case 2:15-cv-00098-RJS Document 265 Filed 12/04/20 PageID.4372 Page 22 of 31


ZIONS BANK RECEIVER ACCOUNTS FOR THE ESTATE OF ROGER S. BLISS
Cash Receipts and Disbursements
For the Period April 1, 2019 to June 30, 2019

                                                                                      April 1, 2019
                                                                                        through          Receivership
                                                                                     June 30, 2019       Cumulative
             Beginning Balance:                                                    $       35,576.63   $           -

             Cash Receipts
                 Business Income                                                                -                 -
                 Cash and Securities                                                            -          898,934.42
                 Interest/Dividend Income                                                       -                 -
                 Business Asset Liquidation                                                     -                 -
                 Personal Asset Liquidation                                                              1,860,071.34
                 Third-Party Litigation Income                                                  -                 -
                 Net Winner Settlements                                                         -          376,764.45
                 Other Settlements                                                              -          177,900.00
                 Miscellaneous - Other                                                          -               77.08
             Total Cash Receipts                                                                -        3,313,747.29

             Cash Disbursements
                 Disbursements to Investors                                                     -        2,403,626.50
                 Disbursements for Receivership Operations
                 Disbursements to Receiver or Other Professionals                               -          784,013.76
                 Business Asset Expenses                                                                        37.55
                 Personal Asset Expenses                                                      18.00         76,092.30
                 Investment Expenses                                                                              -
                 Third-Party Litigation Expenses                                                                  -
                    1. Attorney Fees                                                                              -
                    2. Litigation Expenses                                                                  14,418.55
                 Tax Administrator Fees and Bonds
                 Federal and State Tax Payments
                 Disbursements for Distribution Expenses Paid by the Fund:
                    Distribution Plan Development Expenses:
                    1. Fees:
                          Fund Administrator
                          Independent Distribution Consultant (IDC)
                          Distribution Agent
                          Consultants
                          Legal Advisors
                          Tax Advisors
                    2. Administration Expenses:
                    3. Miscellaneous
                    Distribution Plan Implementation Expenses:
                    1. Fees:
                          Fund Administrator
                          IDC
                          Distribution Agent
                          Consultants
                          Legal Advisors
                          Tax Advisors
                    2. Administration Expenses
                    3. Investor Identification:
                          Notice/Publishing Approved Plan
                          Claimant Identification
                          Claims Processing
                          Web Site Maintenance/Call Center
                    4. Fund Administrator Bond
                    5. Miscellaneous
                    6. Federal Account for Investor Restitution (FAIR) Reporting
                       Expenses
                 Disbursements to Court/Other:
                    Investment Expenses/Court Registry Investment System
                 (CRIS) fees
                    Federal Tax Payments
             Total Disbursements                                                              18.00      3,278,188.66
             Ending Cash Balance                                                          35,558.63         35,558.63

                  Ending Balance of Fund - Net Assets:
                  Bank Statement Balance                                                                    35,558.63
                    Unposted Deposits                                                                             -
                    Uncleared Funds                                                                               -
                  Total Ending Balance of Fund - Net Assets (Check register)                                35,558.63
      Case 2:15-cv-00098-RJS Document 265 Filed 12/04/20 PageID.4373 Page 23 of 31


ZIONS BANK RECEIVER ACCOUNTS FOR THE ESTATE OF ROGER S. BLISS
Cash Receipts and Disbursements
For the Period July 1, 2019 to September 30, 2019

                                                                                       July 1, 2019
                                                                                         through
                                                                                     September 30,        Receivership
                                                                                           2019           Cumulative
             Beginning Balance:                                                    $        35,558.63   $           -

             Cash Receipts
                 Business Income                                                                 -                 -
                 Cash and Securities                                                             -          898,934.42
                 Interest/Dividend Income                                                        -                 -
                 Business Asset Liquidation                                                      -                 -
                 Personal Asset Liquidation                                                               1,860,071.34
                 Third-Party Litigation Income                                                  -                  -
                 Net Winner Settlements                                                   30,600.00         407,364.45
                 Other Settlements                                                              -           177,900.00
                 Miscellaneous - Other                                                          -                77.08
             Total Cash Receipts                                                          30,600.00       3,344,347.29

             Cash Disbursements
                 Disbursements to Investors                                                      -        2,403,626.50
                 Disbursements for Receivership Operations
                 Disbursements to Receiver or Other Professionals                                -          784,013.76
                 Business Asset Expenses                                                                         37.55
                 Personal Asset Expenses                                                       12.00         76,104.30
                 Investment Expenses                                                                               -
                 Third-Party Litigation Expenses                                                                   -
                    1. Attorney Fees                                                                               -
                    2. Litigation Expenses                                                                   14,418.55
                 Tax Administrator Fees and Bonds
                 Federal and State Tax Payments
                 Disbursements for Distribution Expenses Paid by the Fund:
                    Distribution Plan Development Expenses:
                    1. Fees:
                          Fund Administrator
                          Independent Distribution Consultant (IDC)
                          Distribution Agent
                          Consultants
                          Legal Advisors
                          Tax Advisors
                    2. Administration Expenses:
                    3. Miscellaneous
                    Distribution Plan Implementation Expenses:
                    1. Fees:
                          Fund Administrator
                          IDC
                          Distribution Agent
                          Consultants
                          Legal Advisors
                          Tax Advisors
                    2. Administration Expenses
                    3. Investor Identification:
                          Notice/Publishing Approved Plan
                          Claimant Identification
                          Claims Processing
                          Web Site Maintenance/Call Center
                    4. Fund Administrator Bond
                    5. Miscellaneous
                    6. Federal Account for Investor Restitution (FAIR) Reporting
                        Expenses
                 Disbursements to Court/Other:
                    Investment Expenses/Court Registry Investment System
                 (CRIS) fees
                    Federal Tax Payments
             Total Disbursements                                                              12.00       3,278,200.66
             Ending Cash Balance                                                          66,146.63          66,146.63

                 Ending Balance of Fund - Net Assets:
                 Bank Statement Balance                                                                      66,146.63
                   Unposted Deposits                                                                               -
                   Uncleared Funds                                                                                 -
                 Total Ending Balance of Fund - Net Assets (Check register)                                  66,146.63
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ZIONS BANK RECEIVER ACCOUNTS FOR THE ESTATE OF ROGER S. BLISS
Cash Receipts and Disbursements
For the Period October 1, 2019 to December 31, 2019

                                                                                   October 1, 2019
                                                                                      through
                                                                                    December 31,       Receivership
                                                                                        2019           Cumulative
            Beginning Balance:                                                    $      66,146.63   $           -

            Cash Receipts
                Business Income                                                                -                -
                Cash and Securities                                                            -         898,934.42
                Interest/Dividend Income                                                       -                -
                Business Asset Liquidation                                                     -                -
                Personal Asset Liquidation                                                             1,860,071.34
                Third-Party Litigation Income                                                 -                 -
                Net Winner Settlements                                                     200.00        407,564.45
                Other Settlements                                                             -          177,900.00
                Miscellaneous - Other                                                         -               77.08
            Total Cash Receipts                                                            200.00      3,344,547.29

            Cash Disbursements
                Disbursements to Investors                                                     -       2,403,626.50
                Disbursements for Receivership Operations
                Disbursements to Receiver or Other Professionals                               -         784,013.76
                Business Asset Expenses                                                                       37.55
                Personal Asset Expenses                                                                   76,104.30
                Investment Expenses                                                                             -
                Third-Party Litigation Expenses                                                                 -
                   1. Attorney Fees                                                                             -
                   2. Litigation Expenses                                                                 14,418.55
                Tax Administrator Fees and Bonds
                Federal and State Tax Payments
                Disbursements for Distribution Expenses Paid by the Fund:
                   Distribution Plan Development Expenses:
                   1. Fees:
                         Fund Administrator
                         Independent Distribution Consultant (IDC)
                         Distribution Agent
                         Consultants
                         Legal Advisors
                         Tax Advisors
                   2. Administration Expenses:
                   3. Miscellaneous
                   Distribution Plan Implementation Expenses:
                   1. Fees:
                         Fund Administrator
                         IDC
                         Distribution Agent
                         Consultants
                         Legal Advisors
                         Tax Advisors
                   2. Administration Expenses
                   3. Investor Identification:
                         Notice/Publishing Approved Plan
                         Claimant Identification
                         Claims Processing
                         Web Site Maintenance/Call Center
                   4. Fund Administrator Bond
                   5. Miscellaneous
                   6. Federal Account for Investor Restitution (FAIR) Reporting
                       Expenses
                Disbursements to Court/Other:
                   Investment Expenses/Court Registry Investment System
                (CRIS) fees
                   Federal Tax Payments
            Total Disbursements                                                               -        3,278,200.66
            Ending Cash Balance                                                         66,346.63         66,346.63

                 Ending Balance of Fund - Net Assets:
                 Bank Statement Balance                                                                   66,346.63
                   Unposted Deposits                                                                            -
                   Uncleared Funds                                                                              -
                 Total Ending Balance of Fund - Net Assets (Check register)                               66,346.63
      Case 2:15-cv-00098-RJS Document 265 Filed 12/04/20 PageID.4375 Page 25 of 31


ZIONS BANK RECEIVER ACCOUNTS FOR THE ESTATE OF ROGER S. BLISS
Cash Receipts and Disbursements
For the Period January 1, 2020 to March 31, 2020

                                                                                    January 1, 2020
                                                                                       through          Receivership
                                                                                    March 31, 2020      Cumulative
             Beginning Balance:                                                    $      66,346.63   $           -

             Cash Receipts
                 Business Income                                                               -                 -
                 Cash and Securities                                                           -          898,934.42
                 Interest/Dividend Income                                                      -                 -
                 Business Asset Liquidation                                                    -                 -
                 Personal Asset Liquidation                                                             1,860,071.34
                 Third-Party Litigation Income                                                 -                 -
                 Net Winner Settlements                                                  35,800.00        443,364.45
                 Other Settlements                                                             -          177,900.00
                 Miscellaneous - Other                                                         -               77.08
             Total Cash Receipts                                                         35,800.00      3,380,347.29

             Cash Disbursements
                 Disbursements to Investors                                                    -        2,403,626.50
                 Disbursements for Receivership Operations
                 Disbursements to Receiver or Other Professionals                              -          784,013.76
                 Business Asset Expenses                                                                       37.55
                 Personal Asset Expenses                                                                   76,104.30
                 Investment Expenses                                                                             -
                 Third-Party Litigation Expenses                                                                 -
                    1. Attorney Fees                                                                             -
                    2. Litigation Expenses                                                                 14,418.55
                 Tax Administrator Fees and Bonds
                 Federal and State Tax Payments
                 Disbursements for Distribution Expenses Paid by the Fund:
                    Distribution Plan Development Expenses:
                    1. Fees:
                          Fund Administrator
                          Independent Distribution Consultant (IDC)
                          Distribution Agent
                          Consultants
                          Legal Advisors
                          Tax Advisors
                    2. Administration Expenses:
                    3. Miscellaneous
                    Distribution Plan Implementation Expenses:
                    1. Fees:
                          Fund Administrator
                          IDC
                          Distribution Agent
                          Consultants
                          Legal Advisors
                          Tax Advisors
                    2. Administration Expenses
                    3. Investor Identification:
                          Notice/Publishing Approved Plan
                          Claimant Identification
                          Claims Processing
                          Web Site Maintenance/Call Center
                    4. Fund Administrator Bond
                    5. Miscellaneous
                    6. Federal Account for Investor Restitution (FAIR) Reporting
                       Expenses
                 Disbursements to Court/Other:
                    Investment Expenses/Court Registry Investment System
                 (CRIS) fees
                    Federal Tax Payments
             Total Disbursements                                                               -        3,278,200.66
             Ending Cash Balance                                                        102,146.63        102,146.63

                 Ending Balance of Fund - Net Assets:
                 Bank Statement Balance                                                                   102,146.63
                   Unposted Deposits                                                                             -
                   Uncleared Funds                                                                               -
                 Total Ending Balance of Fund - Net Assets (Check register)                               102,146.63
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ZIONS BANK RECEIVER ACCOUNTS FOR THE ESTATE OF ROGER S. BLISS
Cash Receipts and Disbursements
For the Period April 1, 2020 to June 30, 2020

                                                                                      April 1, 2020
                                                                                        through         Receivership
                                                                                     June 30, 2020      Cumulative
             Beginning Balance:                                                    $     102,146.63   $           -

             Cash Receipts
                 Business Income                                                               -                 -
                 Cash and Securities                                                           -          898,934.42
                 Interest/Dividend Income                                                      -                 -
                 Business Asset Liquidation                                                    -                 -
                 Personal Asset Liquidation                                                             1,860,071.34
                 Third-Party Litigation Income                                                 -                 -
                 Net Winner Settlements                                                     600.00        443,964.45
                 Other Settlements                                                             -          177,900.00
                 Miscellaneous - Other                                                         -               77.08
             Total Cash Receipts                                                            600.00      3,380,947.29

             Cash Disbursements
                 Disbursements to Investors                                                    -        2,403,626.50
                 Disbursements for Receivership Operations
                 Disbursements to Receiver or Other Professionals                              -          784,013.76
                 Business Asset Expenses                                                                       37.55
                 Personal Asset Expenses                                                                   76,104.30
                 Investment Expenses                                                                             -
                 Third-Party Litigation Expenses                                                                 -
                    1. Attorney Fees                                                                             -
                    2. Litigation Expenses                                                                 14,418.55
                 Tax Administrator Fees and Bonds
                 Federal and State Tax Payments
                 Disbursements for Distribution Expenses Paid by the Fund:
                    Distribution Plan Development Expenses:
                    1. Fees:
                          Fund Administrator
                          Independent Distribution Consultant (IDC)
                          Distribution Agent
                          Consultants
                          Legal Advisors
                          Tax Advisors
                    2. Administration Expenses:
                    3. Miscellaneous
                    Distribution Plan Implementation Expenses:
                    1. Fees:
                          Fund Administrator
                          IDC
                          Distribution Agent
                          Consultants
                          Legal Advisors
                          Tax Advisors
                    2. Administration Expenses
                    3. Investor Identification:
                          Notice/Publishing Approved Plan
                          Claimant Identification
                          Claims Processing
                          Web Site Maintenance/Call Center
                    4. Fund Administrator Bond
                    5. Miscellaneous
                    6. Federal Account for Investor Restitution (FAIR) Reporting
                       Expenses
                 Disbursements to Court/Other:
                    Investment Expenses/Court Registry Investment System
                 (CRIS) fees
                    Federal Tax Payments
             Total Disbursements                                                               -        3,278,200.66
             Ending Cash Balance                                                        102,746.63        102,746.63

                  Ending Balance of Fund - Net Assets:
                  Bank Statement Balance                                                                  102,746.63
                    Unposted Deposits                                                                            -
                    Uncleared Funds                                                                              -
                  Total Ending Balance of Fund - Net Assets (Check register)                              102,746.63
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ZIONS BANK RECEIVER ACCOUNTS FOR THE ESTATE OF ROGER S. BLISS
Cash Receipts and Disbursements
For the Period July 1, 2020 to September 30, 2020

                                                                                       July 1, 2020
                                                                                         through
                                                                                     September 30,       Receivership
                                                                                           2020          Cumulative
             Beginning Balance:                                                    $      102,746.63   $           -

             Cash Receipts
                 Business Income                                                                -                 -
                 Cash and Securities                                                            -          898,934.42
                 Interest/Dividend Income                                                       -                 -
                 Business Asset Liquidation                                                     -                 -
                 Personal Asset Liquidation                                                              1,860,071.34
                 Third-Party Litigation Income                                                  -                 -
                 Net Winner Settlements                                                         -          443,964.45
                 Other Settlements                                                              -          177,900.00
                 Miscellaneous - Other                                                          -               77.08
             Total Cash Receipts                                                                -        3,380,947.29

             Cash Disbursements
                 Disbursements to Investors                                                     -        2,403,626.50
                 Disbursements for Receivership Operations
                 Disbursements to Receiver or Other Professionals                               -          784,013.76
                 Business Asset Expenses                                                                        37.55
                 Personal Asset Expenses                                                                    76,104.30
                 Investment Expenses                                                                              -
                 Third-Party Litigation Expenses                                                                  -
                    1. Attorney Fees                                                                              -
                    2. Litigation Expenses                                                                  14,418.55
                 Tax Administrator Fees and Bonds
                 Federal and State Tax Payments
                 Disbursements for Distribution Expenses Paid by the Fund:
                    Distribution Plan Development Expenses:
                    1. Fees:
                          Fund Administrator
                          Independent Distribution Consultant (IDC)
                          Distribution Agent
                          Consultants
                          Legal Advisors
                          Tax Advisors
                    2. Administration Expenses:
                    3. Miscellaneous
                    Distribution Plan Implementation Expenses:
                    1. Fees:
                          Fund Administrator
                          IDC
                          Distribution Agent
                          Consultants
                          Legal Advisors
                          Tax Advisors
                    2. Administration Expenses
                    3. Investor Identification:
                          Notice/Publishing Approved Plan
                          Claimant Identification
                          Claims Processing
                          Web Site Maintenance/Call Center
                    4. Fund Administrator Bond
                    5. Miscellaneous
                    6. Federal Account for Investor Restitution (FAIR) Reporting
                        Expenses
                 Disbursements to Court/Other:
                    Investment Expenses/Court Registry Investment System
                 (CRIS) fees
                    Federal Tax Payments
             Total Disbursements                                                                -        3,278,200.66
             Ending Cash Balance                                                         102,746.63        102,746.63

                 Ending Balance of Fund - Net Assets:
                 Bank Statement Balance                                                                    102,746.63
                   Unposted Deposits                                                                              -
                   Uncleared Funds                                                                                -
                 Total Ending Balance of Fund - Net Assets (Check register)                                102,746.63
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                                       Exhibit B

                     Detailed Invoices for Parsons, Behle & Latimer

                           Submitted to the Court in camera




                                          20
 4827-9483-7459.v2
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                                       Exhibit C

                     Detailed Invoices for Lone Peak Valuation Group

                            Submitted to the Court in camera




                                           21
 4827-9483-7459.v2
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                                    Exhibit D

                                   Certification




                                     22
 4827-9483-7459.v2
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                                            CERTIFICATION


        I, Tammy B. Georgelas, the Court-appointed Receiver in Securities and Exchange

Commission v. Roger S. Bliss, et al, Civil Action No. 2:15-cv-00098-RJS, and hereby certify that:

        (a)         I have read the Application;

        (b)         To the best of the Applicant’s knowledge, information and belief formed after
                    reasonable inquiry, the Application and all fees and expenses therein are true and
                    accurate and comply with the Billing Instructions;

        (c)         All fees contained in the Application are based on the rates listed in the Applicant’s
                    fee schedule attached hereto and such fees are reasonable, necessary and
                    commensurate with the skill and experience required for the activity performed;

        (d)         I have not included in the amount for which reimbursement is sought the
                    amortization of the cost of any investment, equipment, or capital outlay (except to
                    the extent that any such amortization is included within the permitted allowable
                    amounts set forth herein for photocopies and facsimile transmission);

        (e)         In seeking reimbursement for a service which the Applicant justifiably purchased
                    or contracted for from a third party (such as copying, imaging, bulk mail, messenger
                    service, overnight courier, computerized research, or title and lien searches), the
                    Applicant requests reimbursement only for the amount billed to the Applicant by
                    the third-party vendor and paid by the Applicant to such vendor. If such services
                    are performed by the Receiver, the Receiver will certify it is not making a profit on
                    such reimbursable service; and

        (f)         With respect to any charges for litigation, I have determined that the litigation is
                    likely to produce a net economic benefit to the estate, based on reviews of: (i) the
                    legal theories upon which the action was based, including issues of standing; (ii)
                    the likelihood of collection on any judgment which might be obtained; and (iii)
                    alternative methods of seeking the relief, such as the retention of counsel on a
                    contingency basis.


        Dated this 30th day of November, 2020.


                                                           _______________________________
                                                           Tammy B. Georgelas, Receiver




4822-9244-0787.v1
